           Case 3:07-cv-05944-JST Document 988 Filed 07/28/11 Page 1 of 5


 1   Ronald C. Redcay (SBN 67236)
     E-Mail: Ronald.Redcay@aporter.com
 2   John D. Lombardo (SBN 187142)
     E-Mail: John.Lombardo@aporter.com
 3   D. Eric Shapland (SBN 193853)
     E-Mail: Eric.Shapland@aporter.com
 4   Eric D. Mason (SBN 259233)
     E-Mail: Eric.Mason@aporter.com
 5   ARNOLD & PORTER LLP
     777 South Figueroa Street, Forty-Fourth Floor
 6   Los Angeles, California 90017-5844
     Telephone: 213.243.4000
 7   Facsimile: 213.243.4199

 8   Beth H. Parker (SBN 104773)                            Samuel R. Miller (SBN 66871)
     E-Mail: Beth.Parker@aporter.com                        E-Mail: srmiller@sidley.com
 9   ARNOLD & PORTER LLP                                    Marie L. Fiala (SBN 79676)
     One Embarcadero Center                                 E-Mail: mfiala@sidley.com
10   Twenty-Second Floor                                    Ryan M. Sandrock (SBN 251781)
     San Francisco, California 94111-3711                   E-Mail: rsandrock@sidley.com
11   Telephone: 415.356.3000                                Robert B. Martin, III (SBN 235489)
     Facsimile: 415.356.3099                                E-Mail: rbmartin@sidley.com
12                                                          SIDLEY AUSTIN LLP
                                                            555 California Street, 20th Floor
13                                                          San Francisco, California 94104
                                                            Telephone:     (415) 772-1200
14                                                          Facsimile:     (415) 772-7400

15   Attorneys for Defendants LG Electronics, Inc.; and
     LG Electronics USA, Inc.; and LG Electronics
16   Taiwan Taipei Co., Ltd.

17   [Additional Parties and Counsel Listed on Signature
     Pages]
18
                                  UNITED STATES DISTRICT COURT
19
                                NORTHERN DISTRICT OF CALIFORNIA
20
                                      SAN FRANCISCO DIVISION
21
     IN RE: CATHODE RAY TUBE (CRT)                   )    Case: 3:07-cv-05944 SC
22   ANTITRUST LITIGATION                            )
                                                     )    MDL No. 1917
23                                                   )
                                                     )    STIPULATION AND [PROPOSED] ORDER
24   This Document Relates To The Direct             )    ON SPECIAL MASTER’S REPORT AND
     Purchaser Action                                )    RECOMMENDATIONS REGARDING
25                                                   )    DEFENDANTS’ MOTION TO COMPEL
                                                     )    DISCOVERY ON DOWNSTREAM
26                                                   )    INFORMATION
                                                     )
27                                                   )
28

      STIPULATION AND [PROPOSED] ORDER ON SPECIAL MASTER’S REPORT AND RECOMMENDATIONS
      REGARDING DEFENDANTS’ MOTION TO COMPEL DISCOVERY ON DOWNSTREAM INFORMATION --
                             CASE NO. 3:07-CV-05944-SC; MDL NO. 1917
           Case 3:07-cv-05944-JST Document 988 Filed 07/28/11 Page 2 of 5


 1          Direct Purchaser Plaintiffs (“DP Plaintiffs”), on the one hand, and the undersigned

 2   defendants, on the other hand, through their respective counsel, hereby stipulate and agree as

 3   follows:

 4          WHEREAS on April 29, 2011, the undersigned defendants filed a Motion to Compel the DP

 5   Plaintiffs to Produce Downstream Discovery (Docket No. 925);

 6          WHEREAS on May 31, 2011, the DP Plaintiffs filed an Opposition to Defendants’ Motion

 7   to Compel the Direct Purchaser Plaintiffs to Produce Downstream Discovery (Docket No. 941);

 8          WHEREAS on June 15, 2011, the undersigned defendants, filed a Reply in Support of

 9   Defendants’ Motion to Compel the Direct Purchaser Plaintiffs to Produce Downstream Discovery

10   (Docket No. 948);

11          WHEREAS on June 23, 2011, Special Master Charles A. Legge heard oral argument

12   regarding the Motion to Compel the Direct Purchaser Plaintiffs to Produce Downstream Discovery;

13   and

14          WHEREAS on July 13, 2011, Special Master Charles A. Legge issued and filed via ECF his

15   Report and Recommendations on Discovery Regarding Downstream Information (Docket No. 966)

16   (the “Report”) recommending that Defendants’ Motion to Compel Downstream Discovery be

17   granted in part and denied in part;

18          IT IS HEREBY STIPULATED AND AGREED, by and between counsel for the

19   undersigned defendants and DP Plaintiffs, that:

20          1.      Pursuant to Rule 53 of the Federal Rules of Civil Procedure and the Court’s June 16,

21   2008 Order Appointing Special Master (Docket No. 302), the Special Master’s Recommendations,

22   attached hereto as exhibit A, shall be entered as an Order of this Court.

23

24

25

26

27

28
                                                       -2-
      STIPULATION AND [PROPOSED] ORDER ON SPECIAL MASTER’S REPORT AND RECOMMENDATIONS
      REGARDING DEFENDANTS’ MOTION TO COMPEL DISCOVERY ON DOWNSTREAM INFORMATION --
                             CASE NO. 3:07-CV-05944-SC; MDL NO. 1917
           Case 3:07-cv-05944-JST Document 988 Filed 07/28/11 Page 3 of 5


 1          2.     Plaintiffs shall have 45 days from the entry of this Order to produce the information

 2   identified in the attached Report and Recommendation.

 3          IT IS SO STIPULATED.

 4   Dated: July 27, 2011                            ARNOLD & PORTER LLP

 5                                                   By: /s/ Eric Shapland
                                                         Ronald C. Redcay (SBN 67236)
 6                                                       E-Mail: Ronald.Redcay@aporter.com
                                                         John D. Lombardo (SBN 187142)
 7                                                       E-Mail: John.Lombardo@aporter.com
                                                         D. Eric Shapland (SBN 193853)
 8                                                       E-Mail: Eric.Shapland@aporter.com
                                                         Eric D. Mason (SBN 259233)
 9                                                       E-Mail: Eric.Mason@aporter.com
                                                         ARNOLD & PORTER LLP
10                                                       777 South Figueroa Street, Forty-Fourth Floor
                                                         Los Angeles, California 90017-5844
11                                                       Telephone: 213.243.4000
                                                         Facsimile: 213.243.4199
12
                                                          Beth H. Parker (SBN 104773)
13                                                        E-Mail: Beth.Parker@aporter.com
                                                          ARNOLD & PORTER LLP
14                                                        One Embarcadero Center
                                                          Twenty-Second Floor
15                                                        San Francisco, California 94111-3711
                                                          Telephone: 415.356.3000
16                                                        Facsimile: 415.356.3099
17                                                        Samuel R. Miller (SBN 66871)
                                                          E-Mail: srmiller@sidley.com
18                                                        Marie L. Fiala (SBN 79676)
                                                          E-Mail: mfiala@sidley.com
19                                                        Ryan M. Sandrock (SBN 251781)
                                                          E-Mail: rsandrock@sidley.com
20                                                        Robert B. Martin, III (SBN 235489)
                                                          E-Mail: rbmartin@sidley.com
21                                                        SIDLEY AUSTIN LLP
                                                          555 California Street, 20th Floor
22                                                        San Francisco, California 94104
                                                          Telephone:        (415) 772-1200
23                                                        Facsimile:        (415) 772-7400
24                                                        For Defendants LG Electronics, Inc.
25

26

27

28
                                                    -3-
      STIPULATION AND [PROPOSED] ORDER ON SPECIAL MASTER’S REPORT AND RECOMMENDATIONS
      REGARDING DEFENDANTS’ MOTION TO COMPEL DISCOVERY ON DOWNSTREAM INFORMATION --
                             CASE NO. 3:07-CV-05944-SC; MDL NO. 1917
         Case 3:07-cv-05944-JST Document 988 Filed 07/28/11 Page 4 of 5


 1                                         SHEPPARD, MULLIN, RICHTER &
                                           HAMPTON LLP
 2
                                           By: /s/ Michael W. Scarborough
 3                                         GARY L. HALLING (SBN 66087)
                                           Email: ghalling@shepparmullin.com
 4                                         JAMES L. MCGINNIS (SBN. 95788)
                                           Email: jmcginnis@sheppardmullin.com
 5                                         MICHAEL W. SCARBOROUGH (SBN 203524)
                                           Email: mscarborough@sheppardmull.com
 6                                         SHEPPARD, MULLIN, RICHTER &
                                           HAMPTON LLP
 7                                         Four Embarcadero Center, 17th Floor
                                           San Francisco, California 94111-4109
 8                                         Telephone: 415-434-9100
                                           Facsimile: 415-434-3947
 9
                                           For Defendant Samsung SDI Co., Ltd.
10

11                                         MORGAN, LEWIS & BOCKIUS LLP

12                                         By: /s/ Kent M. Roger
                                           KENT M. ROGER (SBN 95987)
13                                         Email: kroger@morganlewis.com
                                           MICHELLE PARK CHIU (SBN 248241)
14                                         Email: mchiu@morganlewis.com
                                           MORGAN, LEWIS & BOCKIUS LLP
15                                         One Market, Spear Street Tower
                                           San Francisco, California 94105-1126
16                                         Telephone: 415-442-1000
                                           Facsimile: 415-441-1001
17
                                           For Defendant Hitachi America, Ltd.
18

19                                         SAVERI & SAVERI, INC.

20                                         By: /s/ R. Alexander Saveri
                                           GUIDO SAVEIR (SBN 22349)
21                                         Email: guido@saveri.com
                                           R. ALEXANDER SAVERI (SBN 173102)
22                                         Email: rick@saveri.com
                                           GEOFFREY C. RUSHING (SBN 126910)
23                                         Email: grushing@saveri.com
                                           CADIO ZIRPOLI (SBN 179108)
24                                         Email: cadio@saveri.com
                                           SAVERI & SAVERI, INC.
25                                         706 Sansome Street
                                           San Francisco, California 94111
26                                         Telephone: 415-217-6810
                                           Facsimile: 415-217-6813
27
                                           Interim Lead Counsel for the Direct Purchaser
28                                         Plaintiffs
                                           -4-
     STIPULATION AND [PROPOSED] ORDER ON SPECIAL MASTER’S REPORT AND RECOMMENDATIONS
     REGARDING DEFENDANTS’ MOTION TO COMPEL DISCOVERY ON DOWNSTREAM INFORMATION --
                            CASE NO. 3:07-CV-05944-SC; MDL NO. 1917
           Case 3:07-cv-05944-JST Document 988 Filed 07/28/11 Page 5 of 5


 1          Pursuant to General Order No. 45, § X-B, the filer attests that concurrence in the filing of

 2   this document has been obtained from each of the above signatories.

 3

 4          PURSUANT TO STIPULATION, IT IS SO ORDERED.

 5
     Dated: __July 28, 2011______________
 6                                                       Hon. Samuel Conti
                                                         United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26

27

28
                                                     -5-
      STIPULATION AND [PROPOSED] ORDER ON SPECIAL MASTER’S REPORT AND RECOMMENDATIONS
      REGARDING DEFENDANTS’ MOTION TO COMPEL DISCOVERY ON DOWNSTREAM INFORMATION --
                             CASE NO. 3:07-CV-05944-SC; MDL NO. 1917
